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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

DWAINE COLEMAN, #B-62923,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       -vs-                                       )            No. 15-898-SMY-RJD
                                                  )
JAMES VINSON, et al.,                             )
                                                  )
               Defendants.                        )

            DEFENDANT MITCHELL’S MOTION FOR SUMMARY JUDGMENT

       Defendant, DAVID MITCHELL, by and through his attorney, Lisa Madigan, Attorney

General of the State of Illinois, and pursuant to Rule 56 of the Federal Rules of Civil Procedure,

moves for summary judgment in his favor and against Plaintiff, stating as follows:

       1.      Plaintiff’s Second Amended Complaint (Doc. 16), filed pursuant to 42 U.S.C. 1983,

               alleged (1) that Defendants Vinson and Blessing violated Plaintiff’s Eighth

               Amendment rights by using unconstitutional force and failing to protect Plaintiff

               from serious risk of harm including the unconstitutional force by each defendant,

               and by Defendant Vinson spreading a rumor that Plaintiff was a snitch; (2) that

               Defendant Mitchell retaliated against Plaintiff by placing Plaintiff in segregation

               on November 17, 2014. (Doc. 17, pp. 5-8.)

       2.      Defendant Mitchell now moves for summary judgment in his favor and against

               Plaintiff for the following reasons: (1) Defendant Mitchell did not personally

               determine Plaintiff’s placement in the segregation area of the facility; (2) Plaintiff’s

               threat to file a grievance is not protected First Amendment conduct; (3) placement

               in temporary confinement is not the sort of action that would deter a person of



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               ordinary firmness from engaging in First Amendment activity; and (4) any actions

               taken by Defendant Mitchell in relation to Plaintiff on November 17, 2014 would

               have occurred regardless of any alleged retaliatory motive.

       3.      Additionally, Defendant Mitchell is entitled to qualified immunity for his actions

               at issue in this lawsuit.

       4.      A memorandum of law is attached hereto and hereby incorporated.

       WHEREFORE, Defendant Mitchell respectfully requests that this Court grant summary

judgment in his favor and against Plaintiff.

                                               Respectfully submitted,

                                               DAVID MITCHELL,

                                                      Defendant,

                                               LISA MADIGAN, Attorney General,
Max Boose, #6320334                            State of Illinois
Assistant Attorney General
500 South Second Street                               Attorney for Defendant,
Springfield, Illinois 62701
(217) 557-0261 Phone                           By: s/Max Boose
(217) 524-5091 Fax                                MAX BOOSE
Email: mboose@atg.state.il.us                     Assistant Attorney General




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
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DWAINE COLEMAN, #B-62923,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       -vs-                                       )           No. 15-898-SMY-RJD
                                                  )
JAMES VINSON, et al.,                             )
                                                  )
               Defendants.                        )

                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2018, the foregoing document, Defendant’s Motion for
Summary Judgment, was electronically filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing(s) to the following:

                            Michael J. Hickey    mkickey@lewisrice.com

and I hereby certify that on the same date, I caused a copy of the foregoing document to be
mailed by United States Postal Service, to the following non-registered participant(s):

                                                NONE


                                                       Respectfully Submitted,

                                                        s/Max Boose
                                                       Max Boose, #6320334
                                                       Assistant Attorney General
                                                       Attorney for Defendants
                                                       500 South Second Street
                                                       Springfield, Illinois 62701
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